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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

COMMERCIALIZADORA PORTIMEX,                         CIVIL ACTION
S.A. DE CV
                                                    NO: 02-1185
VERSUS
                                                    SECTION: "R" (1)
ZEN-NOH GRAIN CORPORATION


                                     ORDER

     Defendant Zen-Noh Grain Corporation has moved to hold

plaintiff Commercializadora Portimex, S.A. de CV in civil

contempt for failing to comply with this Court’s amended judgment

of June 21, 2005, in which the Court preliminarily and

permanently enjoined Portimex from pursuing an action it filed

against Zen-Noh in Mexico and further ordered Portimex to dismiss

the action with prejudice by Tuesday, June 28, 2005.             Zen-Noh

requests that the Court hold Portimex in civil contempt and

impose coercive and compensatory sanctions because Portimex has

not dismissed the action as required by the Court’s order.                For

the following reasons, the Court GRANTS Zen-Noh’s motion.

I.   FACTUAL AND PROCEDURAL BACKGROUND

     Portimex is a Mexican corporation engaged in the importation
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of grain, including sorghum.         Zen-Noh is a Louisiana corporation

that exports grain, including sorghum, from its grain elevator on

the Mississippi River in Convent, Louisiana.           In two separate

contracts, Portimex agreed to buy and Zen-Noh agreed to sell two

shipments of sorghum.       Because Portimex intended to sell the

sorghum for use as animal feed, it specified that the sorghum

contain a maximum 100 parts per billion of zearlenone, to be

certified by an independent laboratory.          Zearlenone is a

mycotoxin, a by-product of mold, that can cause harm to animals

if ingested.

     On April 19, 2002, Portimex filed a lawsuit in this Court

against Zen-Noh in which it alleged that Zen-Noh breached both

contracts by delivering sorghum with zearlenone in excess of the

contractual limit.       On September 12, 2002, the Court granted

defendant’s motion for summary judgment as to the first shipment

of sorghum, finding that Zen-Noh fully complied with its

contractual obligations.1        The Court held a three-day trial on

Portimex’s claims regarding the second shipment of sorghum and,

in an Order and Reasons dated November 1, 2002, found that Zen-

Noh also fully complied with its contractual obligations to




     1
       Civil Action No. 02-1185, R. Doc. 50, Order and Reasons
dated Sep. 12, 2002.

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Portimex for the second shipment.2            Accordingly, the Court

entered judgment against Portimex and dismissed its complaint

with prejudice on November 6, 2002.             Portimex filed a Notice of

Appeal on November 20, 2002 but later voluntarily dismissed its

appeal.

        On February 10, 2004, Portimex sued Zen-Noh in the Sixth

District Court for Civil Matters of the Federal District of

Mexico.        Zen-Noh was served with the complaint on May 10, 2005

and filed a motion in this Court for a preliminary and permanent

injunction on May 24, 2005.           On June 7, 2005, the Court granted

Zen-Noh’s motion and preliminarily and permanently enjoined

Portimex, its principals and agents from pursuing the Mexican

lawsuit.        On June 21, 2005, the Court amended its judgment to

explicitly order Portimex to dismiss the lawsuit by June 28,

2005.

        On June 29, 2005, Zen-Noh moved to hold Portimex in civil

contempt because Portimex failed to comply with the Court’s order

to dismiss the Mexican action.            On that same day, the Court

ordered Portimex to show cause why it should not be held in civil

contempt, fined $10,000 for each day it fails to comply with the

Court’s order, and ordered to indemnify Zen-Noh for the expenses


        2
       Civil Action NO. 02-1185, R. Doc. 105, Order and Reasons
dated Nov. 1, 2002.

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of the contempt motion, as well as attorneys’ fees, costs, or

judgments Zen-Noh incurs as a result of Portimex’s failure to

comply with the Court’s order.

      On July 1, 2005, the Court held a hearing on Zen-Noh’s

motion.      In response to the Court’s order to show cause, Portimex

produced what it represents is a dismissal of the Mexican action

with prejudice, which is dated June 28, 2005 and file stamped by

the Mexican court June 29, 2005, the day after the date specified

for dismissal in the Court’s order.3          Zen-Noh, however, asserts

that the Mexican court denied Portimex’s dismissal because the

person who signed the dismissal lacked authority to do so.                 Zen-

Noh therefore contends that Portimex has not effectively

dismissed the Mexican action.

II.   DISCUSSION

      The Fifth Circuit “has defined a civil contempt sanction as

one whose purpose is to coerce the contemnor into compliance with

a court order, or to compensate another party for the contemnor’s

violation.”       Quilling v. Funding Res. Group, 227 F.3d 231, 234

(5th Cir. 2000) (citation omitted); Lamar Fin. Corp. v. Adams,

918 F.2d 564, 566 (5th Cir. 1990).           Because the Court is

considering whether to impose contempt sanctions to coerce


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       Portimex contends that this stamp was an error by its
Mexican counsel.

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Portimex to comply with the Court’s order and to compensate Zen-

Noh for any violation of the Court’s order, any contempt sanction

that may be imposed in this matter is civil.

     A.      Whether Portimex Should Be Held in Contempt

     A movant in a civil contempt proceeding bears the burden of

establishing by clear and convincing evidence that: 1) a court

order was in effect; 2) the order required certain conduct by the

respondent; and 3) the respondent failed to comply with the

court’s order.     Am. Airlines v. Allied Pilots Ass’n, 228 F.3d

574, 581 (2000).    “Willfulness is not an element of civil

contempt.”     Petroleos Mexicanos v. Crawford Enters., Inc., 826

F.2d 392, 401 (5th Cir. 1987).      In a civil contempt action, proof

of contempt must be “clear and convincing.”        Whitfield v.

Pennington, 832 F.2d 909, 913 (5th Cir. 1987).

     The Court finds that Zen-Noh has carried its burden to show

by clear and convincing evidence that Portimex is in contempt of

the Court’s order.    The Court’s judgment of June 7, 2005 enjoined

Portimex from prosecuting the Mexican action.        As a

clarification, the Court’s amended judgment of June 21, 2005

explicitly ordered Portimex to dismiss the Mexican lawsuit by

June 28, 2005.    These orders are in effect and required certain

conduct by Portimex.    Portimex has failed to comply with the

Court’s order because it did not effectively dismiss the Mexican

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suit by June 28, 2005.        On its face, Portimex’s purported motion

to dismiss the action does not comply with the Court’s order

because it was file stamped by the Mexican court on June 29,

2005.     Portimex contends, without support, that this was an error

by its Mexican counsel.        In any event, Zen-Noh provided an

statement from its counsel in Mexico that the Mexican court

denied Portimex’s attempt to dismiss the action because of an

absence of authority by the person who signed the dismissal, and

therefore the dismissal is not effective.           Finally, it appears to

be undisputed that the Mexican court must ratify Portimex’s

dismissal, which indicates that the dismissal is not actually

effective until some time after Portimex files it.            In that case,

Portimex’s filing of a dismissal on June 28 or June 29, 2005

would not in any event have been in sufficient time to comply

with the Court’s order.        Accordingly, the Court finds that

Portimex has failed to comply with the Court’s order that it

dismiss the Mexican action with prejudice by June 28, 2005, and

it holds Portimex in contempt.

        B.   Appropriate Sanctions for Civil Contempt

        Having found that by clear and convincing evidence that

Portimex is in contempt of the Court’s order that Portimex

dismiss the Mexican lawsuit by June 28, 2005, the Court turns to

what sanctions should be imposed.          The Court concludes that two

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civil contempt sanctions are appropriate to coerce Portimex to

comply with the Court’s order and to compensate Zen-Noh for

expenses it incurs as a result of Portimex’s violation.

     First, beginning July 6, 2005, the Court imposes on Portimex

a fine of $10,000 a day for each day that Portimex continues to

be in non-compliance with the Court’s June 21, 2005 order that it

dismiss the Mexican action with prejudice.        To purge itself of

contempt and avoid the fine, Portimex must provide proof to the

Court that the Mexican court has in fact dismissed Portimex’s

action against Zen-Noh with prejudice by the close of business on

July 5, 2005.

     The Fifth Circuit has held that to determine the appropriate

amount for this kind of per diem civil contempt sanction, the

Court should consider: (1) the harm from noncompliance; (2) the

probable effectiveness of the sanction; (3) the financial

resources of the contemnor and the burden the sanctions may

impose; and (4) the willfulness of the contemnor in disregarding

the court’s order.    Lamar Fin. Cop., 918 F.2d at 567.        The Court

has considered these factors and finds that $10,000 per day is an

appropriate fine.    Portimex is seeking six million in damages in

the Mexican suit, which exposes Zen-Noh to a risk of significant

harm from non-compliance and indicates that a substantial fine is

necessary to be effective.     Further, the Court’s order was clear

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and Portimex’s delay in even attempting to comply with the

Court’s order appears to be willful.          The fine, although not

compensatory, is civil because its purpose is to coerce Portimex

to comply with the Court’s order and because Portimex has the

opportunity to purge itself of contempt through compliance.               See

Int’l Union, United Mine Workers of Am. v. Bagwell, 512 U.S. 821,

829 (1994).

     Second, the Court also finds that it is appropriate to

impose a compensatory sanction for civil contempt on Portimex.

Compensatory civil contempt sanctions may be employed to

“reimburse[] the injured party for the losses and expenses

incurred because of his adversary’s noncompliance.”             Am.

Airlines, 228 F.3d at 585 (citation omitted).           The Court has

broad discretion in a civil contempt proceeding to assess damages

to compensate for damage sustained by noncompliance with its

order.     See id.   The Court finds that it is appropriate in this

case to require Portimex to compensate Zen-Noh for any expenses

Zen-Noh incurred as a result of Portimex’s failure to comply with

the Court’s order to dismiss the Mexican action.

III. CONCLUSION

     For the foregoing reasons, the Court GRANTS defendant’s

motion and finds that Portimex is liable for civil contempt for

violating this Court’s order of June 21, 2005.            The Court

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therefore ORDERS that if Portimex does not provide proof to the

Court that the Mexican court has in fact dismissed Portimex’s

action against Zen-Noh with prejudice by July 5, 2005, Portimex

shall pay $10,000 for each day it continues to be in non-

compliance with the Court’s June 21, 2005 order, beginning on

July 6, 2005, until such proof is supplied.           The Court further

ORDERS that Portimex pay to Zen-Noh its attorneys’ fees and costs

in bringing the contempt motion and indemnify Zen-Noh for any

fees, costs or judgments it incurs or must pay as a result of

Portimex’s failure to dismiss the Mexican action.

        Zen-Noh shall brief and provide support for the amount of

expenses it occurred in bringing this contempt motion by July 13,

2005.     Portimex may file an opposition by July 20, 2005, and the

Court will thereafter determine the amount due.

                                     1st day of July, 2005.
        New Orleans, Louisiana, this ___




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                               SARAH S. VANCE
                        UNITED STATES DISTRICT JUDGE




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